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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              CHARLESTON DIVISION


 IN RE: ETHICON, INC. PELVIC
 REPAIR SYSTEM PRODUCTS LIABILITY                             Master File No. 2:12-MD-02327
 LITIGATION                                                           MDL No. 2327

 __________________________________                               JOSEPH R. GOODWIN
 THIS DOCUMENT RELATES TO ALL                                     U.S. DISTRICT JUDGE

 WAVE VI CASES:




               NOTICE TO TAKE DEPOSITION OF RALPH ZIPPER, M.D.

 TO: ALL COUNSEL OF RECORD

        PLEASE TAKE NOTICE that the deposition of RALPH ZIPPER, M.D. will take

 place at Hilton Melbourne Rialto Place, 200 Rialto Place, Melbourne, Florida, 31901-3092 on

 October 27, 2017 at 12:00 p.m.

 Dial In: 1-800-747-5150
 Access Code: 4873233
 Chairperson: 9579 (The court reporter will be the chairperson and connect all parties).

 Please note that there is a fee for the use of this call-in number. The charges are as follows: $65

 for up to 4 hours and $85 for anything over 4 hours per telephone participant, per day.

        PLEASE TAKE FURTHER NOTICE that the undersigned attorneys for Defendants

 Ethicon, Inc., Ethicon, LLC and Johnson & Johnson in accordance with Rule 30 of the Federal

 Rules of Civil Procedure, the procedures set forth in In Re: Ethicon Inc., Pelvic Repair System
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 Products Liability Litigation, MDL No. 2327, Defendants Ethicon Inc., Ethicon, LLC and

 Johnson & Johnson hereby notice this deposition for any and all purposes permitted by the rules

 of the MDL Court, and any other state or local rules that apply to this action. Defendants

 Ethicon, Inc., Ethicon, LLC and Johnson & Johnson further state that this deposition shall be

 conducted in accordance with and subject to the Protective order entered in the above-reference

 action and the Protective Order in In Re: Ethicon Inc., Pelvic Repair System Products Liability

 Litigation, MDL No. 2327.

        PLEASE FURTHER TAKE NOTICE that said deposition shall take place before a

 duly qualified Notary Public authorized to administer oaths and shall continue from day to day

 until completed. Said deposition shall cover all matters relevant to the subject matter of the

 within action.

        PLEASE FURTHER TAKE NOTICE that the person to be examined is required to

 produce any document reviewed by the deponent, prior to the commencement of the deposition,

 to prepare for the deposition, and/or to refresh the deponent’s recollection regarding the facts of

 this case, as well as all documents requested on Schedule A.



 October 20, 2017                             Respectfully submitted,

                                              /s/ Christy D. Jones
                                              Christy D. Jones
                                              Butler Snow LLP
                                              1020 Highland Colony Parkway
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                                   /s/ David B. Thomas
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                                   COUNSEL FOR DEFENDANTS
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                                              EXHIBIT A

                                            DEFINITIONS

           1.    “You” or “Your” refers to the witness, RALPH ZIPPER, M.D..

           2.    “Plaintiff” refers to each of the Plaintiffs referenced in the above-styled cases.

           3.    The word “and” and the word “or” shall, where the context permits, be construed

 to mean “and/or.”

           4.    The terms “relating to” and “related to” mean in whole or in part or in any way

 constituting, containing, concerning, embodying, evidencing, reflecting, describing, analyzing,

 identifying, stating, dealing with, referring to or pertaining to.

           5.    Words used in the singular shall, where the context permits, include the plural,

 and words used in the plural shall, where the context permits, include the singular.

           6.    The use of a verb tense shall be construed as the use of that verb in all other

 tenses.

           7.    The term “Communication,” as used in these Requests, is intended to have the

 broadest possible meaning and shall include any contact or act by which information or

 knowledge is transmitted or conveyed between two or more persons and includes, without

 limitation: (1) written contact, including but not limited to letters, memoranda, PowerPoint

 presentations, email, text message, telegram, telex, internet-based meetings, or other written or

 electronic Document or files; (2) oral contact, whether by face-to-face meetings, internet-based

 meetings, video conferences, telephonic conversations, or otherwise; and (3) nonverbal acts

 intended to communicate or convey any meaning, understanding or other message.

           8.    As used throughout, “Document” means any written or graphic matter however

 produced or reproduced. “Document” also includes writings of any kind, source, and authorship,
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 both originals and all non-identical copies thereof, in Your possession, custody, or control, or

 known by You to exist, irrespective of whether the writing is one intended for or transmitted

 internally to You, or intended for or transmitted by any other person or entity, including without

 limitation any government agency, department, administrative entity, or personnel. The term

 shall include handwritten, typewritten, printed, photocopied, photographic, or recorded matter. It

 shall include communications in words, symbols, pictures, sound recordings, films, tapes, and

 information stored in, or accessible through, computer or other information storage or retrieval

 systems, together with the codes and/or programming instructions and other materials necessary

 to understand and use such systems. For purposes of illustration and not limitation, the term

 shall include: correspondence; transcriptions of testimony; letters; notes; reports; papers; files;

 books; records; contracts; agreements; telegrams; teletypes and other communications sent or

 received; diaries; calendars; logs, circulars; announcements; advertisements; instructions;

 schedules; minutes; summaries; notes and other records and recordings of any conferences,

 meetings, visits, statements, interviews, or telephone conversations; bills; statements and other

 records of obligations and expenditures, canceled checks; vouchers; receipts and other records of

 payments; ledgers; journals; balance sheets; profit and loss statements; interviews; affidavits;

 printed matter (including published books, articles, speeches, and newspaper clippings); press

 releases; charts; drawings; specifications; manuals; brochures; parts lists; memoranda of all kinds

 to and from any persons, agencies, or entities; technical and engineering reports; evaluations;

 advises; recommendations; commentaries; conclusions; studies; test plans; procedures; data;

 reports, results, and conclusions; records of administrative, technical, and financial actions taken

 or recommended; and all other materials the contents of which relate to, discuss, consider, or

 otherwise refer to the subject matter of the particular discovery requested. “Document” also




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 means and includes all original and non-identical copies of any papers, books, accounts,

 writings, drawings, graphs, charts, photographs, phone-records, recordings or other data

 compilations from which information can be obtained, translated, if necessary, by You through

 detection devices into reasonably usable form, and tangible things. These terms also include any

 communications passing between Your agents, representatives, or employees.

 DOCUMENT REQUESTS

        1.     All Documents, including but not limited to calculations, correspondence, data,

               calendar entries, notes and other materials, reflecting the compensation to be paid

               to You for study and testimony in this case.

        2.     All Documents, including but not limited to calculations, correspondence, data,

               calendar entries, notes and other materials, reflecting the compensation a) paid to

               You to date; and b) due to be paid to You once a bill is prepared for Your study

               and testimony, in connection with providing expert opinions in any pelvic mesh

               litigation in the last four years, in which You have been submitted a report and/or

               been disclosed as an expert witness for a plaintiff.

        3.     A copy of an up-to-date Curriculum Vitae.

        4.     If not included in Your up-to-date Curriculum Vitae, a complete list of Your

               publications, including but not limited to treatises, articles, journals, editorials,

               texts, abstracts, CLE or CME materials, PowerPoints, and seminar materials.

        5.     A complete list of all other cases in which You have testified as an expert or by

               deposition in the last four years.

        6.     Copies of all medical records on the Plaintiff in Your possession.

        7.     Copies of any deposition testimony relating to this case in Your possession




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       8.    All Documents, including but not limited to graphics, testing, recordings,

             spreadsheets, databases, data in any form, work papers, and notes, whether

             preliminary or final, prepared by or at Your direction reflecting facts, factual

             assessments or assumptions, beliefs, or medical information on the Plaintiff

             relating to Your opinions.

       9.    All Documents, including but not limited to graphics, testing, recordings,

             spreadsheets, databases, data in any other form, work papers, and notes, whether

             preliminary or final, prepared by or at Your direction reflecting facts, factual

             assessments or assumptions, or beliefs relating to any other pelvic mesh cases

             involving the Prolift, Prolift +M, TVT, Gynemesh PS, TVT-O, TVT-Secur,

             Prosima, and Prolene Soft Mesh products.

       10.   All final reports prepared in connection with Your expected testimony in this

             case.

       11.   All final reports prepared in connection with Your role as a testifying expert in

             any other pelvic mesh cases involving the Prolift, Prolift +M, TVT, Gynemesh

             PS, TVT-O, TVT-Secur, Prosima, and Prolene Soft Mesh products.

       12.   All Documents, including reports, summaries, summaries of data, studies, or other

             Documentation, reflecting testing done by You relating to this case.

       13.   All Documents, including reports, summaries of data, studies, or other

             Documentation, reflecting testing done by You relating to any other pelvic mesh

             case involving Prolift, Prolift +M, TVT, Gynemesh PS, TVT-O, TVT-Secur,

             Prosima, and Prolene Soft Mesh products and/or other pelvic mesh products.




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       14.   All Documents related to any physical examination or treatment by You of the

             Plaintiff.

       15.   Any and all Documents relating to or reflecting any communication involving

             You and any of the Plaintiff’s health care providers.

       16.   Any and all Documents relating to or reflecting any communication involving

             You and any of the Plaintiff’s other experts, including but not limited to other

             experts’ disclosures, reports, or deposition testimony that You have been

             provided.

       17.   Any and all Documents, records, literature and data or information of any kind

             reviewed or considered by or made available to You, whether You did or did not

             rely on such Documents, records, literature and data or information.

       18.   All literature, published or unpublished, consulted by You in connection with

             Your opinions in this case, including all literature that supports or fails to support

             Your opinions.

       19.   All depositions, pleadings, court opinions, or other records that were summarized

             for You or otherwise made available for Your review in connection with Your

             expected testimony in this case or in any pelvic mesh case involving the Prolift,

             Prolift +M, TVT, Gynemesh PS, TVT-O, TVT-Secur, Prosima, and Prolene Soft

             Mesh products.

       20.   All photographs or other images, including photographs of the Plaintiff or

             products, taken by or for You that relate to Your opinions in this case.

       21.   All graphics or charts prepared by You or at Your direction for use at deposition

             and/or trial in this case.




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       22.   Any Ethicon products in Your possession or Ethicon products belonging to You

             that You have placed in the possession of others.

       23.   All Documents, including but not limited to protocols, interim results, reports of

             adverse events, informed consents, investigator brochures, final results,

             publications, materials and minutes for any study meeting, and communications

             with patients, health authorities, sponsors, investigators, or institutional review

             boards, relating to any clinical trial and/or epidemiological study concerning

             pelvic mesh, pelvic organ prolapse, or stress urinary incontinence in which You

             participated in any capacity, such as an investigator, safety monitor, advisor, or

             study committee member.

       24.   All Documents or communications relating to any publications, proposed

             publications, or draft submissions for publication authored by You relating to

             pelvic mesh, pelvic organ prolapse, or stress urinary incontinence.

       25.   All Documents relating to presentations or lectures given by You or to which You

             contributed relating to pelvic mesh products, pelvic organ prolapse, and/or stress

             urinary incontinence.

       26.   All communications from or to You relating to any professional medical society

             with respect to pelvic mesh, pelvic mesh products, pelvic organ prolapse, stress

             urinary incontinence, position statements, studies, editorials, and/or publications.

       27.   Copies of any letters, brochures, promotions, websites, or other Documents in

             which You advertise or discuss Your work or availability as an expert or

             consultant in litigation.




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       28.   Copies of the syllabus and texts used in any classes taught by You in the past five

             years.

       29.   All transcripts of prior testimony, statements or presentations given you You in

             any proceeding before the Food and Drug Administration, the Drug Enforcement

             Agency, the United States House of Representatives, Wall Street, Financial

             Analysis, national Pharmaceutical Association Meetings, and on local or national

             television.

       30.   A copy of Your complete file in this case.

       31.   Any communications between You and counsel for the Plaintiff, to the extent that

             such communications:

             a.       Relate to Your compensation;

             b.       Identify facts or data that You were provided and that You considered in

                      forming Your opinions; or

             c.       Identify assumptions that Plaintiff’s counsel provided You and that You

                      relied on in forming Your opinions.




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                                CERTIFICATE OF SERVICE
        I hereby certify that on October 20, 2017, I electronically filed the foregoing document

 with the Clerk of the Court using the CM/ECF system which will send notification of such filing

 to CM/ECF participants registered to receive service in this MDL.

                                                             /s/ Christy D. Jones




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